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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

QUARTZ AUTO TECHNOLOGIES LLC                       §
                                                   §
vs.                                                §      NO: WA:20-CV-00126-ADA
                                                   §
UBER TECHNOLOGIES, INC.                            §

                    ORDER GOVERNING PROCEEDINGS – PATENT CASE

This Order shall govern proceedings in this case. The following deadlines are hereby set:

      1. This case is SET for a telephonic Rule 16 Case Management Conference on Friday, June
         19, 2020 at 2:00 p.m.. Participants shall dial into the following number 5 minutes before
         the scheduled time: (866) 434-5269; access code 9678090. Lead counsel for each party,
         and all unrepresented parties, shall be present. Client representatives are welcome to
         attend, but such attendance is not required. In person attendance is permitted, but not
         required. Anyone planning to attend in person should so inform the Court by contacting
         chambers not later than two court days before the scheduled hearing so the Court can
         evaluate whether to hold the conference in the courtroom, or in chambers. The Court
         expects the parties to be prepared to discuss:

         a.     an overview of the claims and defenses, including any unique issues the parties
               believe should be addressed at this stage of the case;

         b. issues involving the case schedule and potential amendments to the Court’s default
            scheduling order, including the date for the Markman Hearing;

         c. issues relating to claim construction, including whether a live tutorial would be of
            benefit to the Court;

         d. issues relating to discovery, including potential amendments to the Court’s default
            discovery limits or Protective Order; and,

         e. any other issues the parties believe would lead to the just, speedy and inexpensive
            determination of this action.


      2. (Not later than 7 days before the CMC). Plaintiff shall serve preliminary infringement
         contentions in the form of a chart setting forth where in the accused product(s) each
         element of the asserted claim(s) are found. Plaintiff shall also identify the priority date
         (i.e. the earliest date of invention) for each asserted claim and produce: (1) all documents
         evidencing conception and reduction to practice for each claimed invention, and (2) a
         copy of the file history for each patent in suit.

      3. (Not later than 3 business days before the CMC). Lead counsel for each party shall meet
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       and confer (either in person or by telephone), to discuss whether they believe the Court’s
       default Scheduling Order and default Discovery Limits are appropriate for this case, and
       any issues relating to the management of this case they intend to raise at the CMC.

   4. (Two weeks after the CMC). The Parties shall submit an agreed Scheduling Order. If the
      parties cannot agree, the parties shall submit a separate Joint Motion for entry of each
      Order briefly setting forth their respective positions on items where they cannot agree.
      Absent agreement of the parties, the Plaintiff shall be responsible for the timely
      submission of this and other Joint filings.

   5. (Two weeks after the CMC). Deadline for Motions to Transfer. The Court also adopts
      the following page limits and briefing schedule of Motions to Transfer:


           a. Opening - 15 pages


           b. Reponse - 15 pages, due 14 days after the Opening brief


           c. Reply - 5 pages, due 7 days after the Response brief


   6. (Seven weeks after the CMC). Defendant shall serve preliminary invalidity contentions
      in the form of (1) a chart setting forth where in the prior art references each element of the
      asserted claim(s) are found, (2) an identification of any limitations the Defendant
      contends are indefinite or lack written description under section 112, and (3) an
      identification of any claims the Defendant contends are directed to ineligible subject
      matter under section 101. Defendant shall also produce (1) all prior art referenced in the
      invalidity contentions, (2) technical documents, including software where applicable,
      sufficient to show the operation of the accused product(s), and (3) summary, annual sales
      information for the accused product(s) for the two years preceeding the filing of the
      Complaint,1 unless the parties agree to some other timeframe.

                                         DISCOVERY

Except with regard to discovery necessary for claim construction, all other discovery is stayed
until after the Markman hearing. Notwithstanding this general stay of discovery, the Court will
permit limited discovery by agreement of the parties, or upon request, where exceptional
circumstances warrant. For example, if discovery outside the United States is contemplated, the
Court will be inclined to allow such discovery to commence before the Markman hearing.


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1With regard to expired patents, the sales information shall be provided for the two years
preceding expiration.
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Following the Markman hearing, the following discovery limits will apply to this case. The
Court will consider reasonable requests to increase these limits should circumstances warrant.

    1. Interrogatories: 30 per side2
    2. Requests for Admission: 45 per side
    3. Requests for Production: 75 per side
    4. Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
    5. Expert Depositions: 7 hours per report3

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI), absent a showing
of good cause. If a party believes targeted email/ESI discovery is necessary, it shall propose a
procedure identifying custodians and search terms it believes the opposing party should search.
The opposing party can oppose, or propose an alternate plan. If the parties cannot agree, they
shall contact chambers to schedule a call with the Court to discuss their respective positions.

                                   DISCOVERY DISPUTES

A party may not file a Motion to Compel discovery unless: (1) lead counsel have met and
conferred in good faith to try to resolve the dispute, and (2) the party has contacted the Court's
law clerk (with opposing counsel) to arrange a telephone conference with the Court to summarize
the dispute and the parties respective positions. After hearing from the parties, the Court will
determine if further briefing is required.

                                    PROTECTIVE ORDER

Pending entry of the final Protective Order, the Court issues the following interim Protective
Order to govern the disclosure of confidential information in this matter:

        If any document or information produced in this matter is deemed confidential by the
        producing party and if the Court has not entered a protective order, until a protective
        order is issued by the Court, the document shall be marked “confidential” or with some
        other confidential designation (such as “Confidential – Outside Attorneys Eyes Only”) by
        the disclosing party and disclosure of the confidential document or information shall be
        limited to each party’s outside attorney(s) of record and the employees of such outside
        attorney(s).
__________________________
2 A "side" shall mean the plaintiff (or related plaintiffs suing together) on the one hand, and the
defendant (or related defendants sued togther) on the other hand. In the event that the Court
consolidates related cases for pretrial purposes, with regard to calculating limits imposed by this
Order, a "side" shall be interpreted as if the cases were proceeding individually. For example, in
consolidated cases the plaintiff may serve up to 30 interrogatories on each defendant, and each
defendant may serve up to 30 interrogatories on the plaintiff.
3 For example, if a single technical expert submits reports on both infringement and invalidity,
he or she may be deposed for up to 14 hours in total.
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        If a party is not represented by an outside attorney, disclosure of the confidential
        document or information shall be limited to one designated “in house” attorney, whose
        identity and job functions shall be disclosed to the producing party 5 days prior to any
        such disclosure, in order to permit any motion for protective order or other relief
        regarding such disclosure. The person(s) to whom disclosure of a confidential document
        or information is made under this local rule shall keep it confidential and use it only for
        purposes of litigating the case.

                              CLAIM CONSTRUCTION ISSUES

Terms for Construction. The Court does not have a specific limit on the number of asserted
claims or claim terms to be construed; however, the Court encourages the parties to focus on
their top ten claim terms in order of importance. In cases with an unusually large number of
patents or asserted claims, the Court may revisit this topic and will be open to suggestions from
the parties.

Claim Construction Briefing. The Court will require simultaneous claim construction briefing
with the following default page limits; however, where exceptional circumstances warrant, the
Court will consider reasonable requests to adjust these limits. These page limits shall also apply
collectively for consolidated cases; however, the Court will consider reasonable requests to
adjust page limits in consolidated cases where circumstances warrant. In addition, the Court is
very familiar with the law of claim construction and encourages the parties to forego lengthy
recitations of the underlying legal authorities and instead focus on the substantive issues unique
to each case.

Unless otherwise agreed by the parties, all simultaneeous filings will take place at 5:00 p.m. CT.

                                Page Limits for Markman Briefs

Brief                    1-2 Patents              3-5 Patents              More than 5 patents
Opening                  20 pages                 30 pages                 30 pages, plus 5
                                                                           additional pages for
                                                                           each patent over 5 up
                                                                           to a maximum of 45
                                                                           pages
Response                 20 pages                 30 pages                 30 pages, plus 5
                                                                           additional pages for
                                                                           each patent over 5 up
                                                                           to a maximum of 45
                                                                           pages
Reply                    10 pages                 15 pages                 15 pages, plus 2
                                                                           additional pages for
                                                                           each patent over 5 up
                                                                           to a maximum of 21
                                                                           pages
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Conduct of the Markman Hearing. The Court intends to set aside one half day for the
Markman hearing; however, the Court is open to reserving more or less time, depending on the
complexity of the case and input from the parties. The Court is open to the presentation of live
technology tutorials when they may be of benefit. The parties may also submit tutorials in
electronic form by the deadline for submission of the Joint Claim Construction Statement. If a
party intends to present a live tutorial, it should be (1) directed to the underlying technology
(rather than argument related to infringement or validity), and (2) limited to 15 minutes per side
at the start of the Markman hearing. For the Court's convenience, the tutorial may be recorded,
but will not be part of the record. Parties may not rely on or cite to the tutorial in other aspects of
the litigation.

The Court will consider the parties suggestions on the order of argument at the Markman
hearing. However, if the parties do not suggest a different procedure, the Court will allow the
Plaintiff to pick the first term and then alternate by term. As a general rule, if one side proposes
“plain and ordinary meaning” as its construction or asserts that a term is indefinite, the other
party shall go first.

                                        GENERAL ISSUES

1. The Court does not have a limit on the number of motions for summary judgment (MSJs);
   however, absent leave of Court, the cumulative page limit for Opening Briefs for all MSJs is
   40 pages per side.

2. The Court encourages the submission of Markman briefs via audio file so that the Court can
   listen to the arguments. The recordings shall be made in a neutral fashion, shall be verbatim
   transcriptions without additional colloquy (except that citations and legal authority sections
   need not be included), and each such file shall be served on opposing counsel. The Court
   does not have a preference for the manner of recording and has found automated software
   recordings, as well as attorney recordings, to be more than satisfactory. Austio files shall be
   submitted via USB drive, Dropbox (not another cloud-storage), or email to the law clerk
   (with a cc to opposing counsel) and should be submitted in mp3 format.

3. The Court will entertain reasonable requests to streamline the case schedule and discovery
   and encourages the parties to contact the Court's law clerk (with opposing counsel) to arrange
   a call with the Court when such interaction might help streamline the case.

            ORDERED this 27th day of May, 2020.


                                                      ______________________________
                                                      ALAN D ALBRIGHT
                                                      UNITED STATES DISTRICT JUDGE
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                                       APPENIDX A – DEFAULT SCHEDULE

 Deadline                             Item

 7 days before CMC                    Plaintiff serves preliminary4 infringement contentions in the
                                      form of a chart setting forth where in the accused product(s)
                                      each element of the asserted claim(s) are found. Plaintiff shall
                                      also identify the earliest priority date (i.e. the earliest date of
                                      invention) for each asserted claim and produce: (1) all
                                      documents evidencing conception and reduction to practice
                                      for each claimed invention, and (2) a copy of the file history
                                      for each patent in suit.

 2 weeks after CMC                    Deadline for Motions to Transfer

 7 weeks after CMC                    Defendant serves preliminary invalidity contentions in the
                                      form of (1) a chart setting forth where in the prior art
                                      references each element of the asserted claim(s) are found, (2)
                                      an identification of any limitations the Defendant contends are
                                      indefinite or lack written description under section 112, and
                                      (3) an identification of any claims the Defendant contends are
                                      directed to ineligible subject matter under section 101.
                                      Defendant shall also produce (1) all prior art referenced in the
                                      invalidity contentions, (2) technical documents, including
                                      software where applicable, sufficient to show the operation of
                                      the accused product(s), and (3) summary, annual sales
                                      information for the accused product(s) for the prior two years,
                                      unless the parties agree to some other timeframe.

 9 weeks after CMC                    Parties exchange claim terms for construction.

 11 weeks after CMC                   Parties exchange proposed claim constructions.




_________________________
4The parties may amend preliminary infringement contentions and preliminary invalidity contentions without leave
of the court so long as counsel certifies that it undertook reasonable efforts to prepare its preliminary contentions and
the amendment is based on material identified after those preliminary contentions were served, and should do so
seasonably upon identifying any such material. Any amendment to add patent claims requires leave of court so that
the Court can address any scheduling issues.
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12 weeks after CMC          Parties disclose extrinsic evidence. The parties shall disclose
                            any extrinsic evidence, including the identity of any expert
                            witness they may rely upon with respect to claim construction
                            or indefiniteness. With respect to any expert identified, the
                            parties shall also provide a summary of the witness’s expected
                            testimony including the opinions to be expressed and a general
                            description of the basis and reasons therefore. A failure to
                            summarize the potential expert testimony in a good faith,
                            informative fashion may result in the exclusion of the
                            proffered testimony. With respect to items of extrinsic
                            evidence, the parties shall identify each such item by
                            production number or produce a copy of any such item if not
                            previously produced.
13 weeks after CMC          Deadline to meet and confer to narrow terms in dispute and
                            exchange revised list of terms/constructions.

14 weeks after CMC          Parties file Opening claim construction briefs, including any
                            arguments that any claim terms are indefinite.

17 weeks after CMC          Parties file Responsive claim construction briefs.

19 weeks after CMC          Parties file Reply claim construction briefs.

20 weeks after CMC          Parties submit Joint Claim Construction Statement. In
                            addition to filing, the parties shall jointly submit, via USB
                            drive, cloud-storage, or email to the law clerk pdf versions of
                            all as-filed briefing and exhibits. Absent agreement of the
                            parties, the Plaintiff shall be responsible for the timely
                            submission of this and other Joint filings.

24 weeks after CMC (or as   Markman Hearing at [9:00 a.m. or 1:00 p.m.]
soon as practicable)

1 week after Markman        Fact Discovery opens; deadline to serve Initial Disclosures per
hearing                     Rule 26(a).

6 weeks after Markman       Deadline to add parties.
hearing

8 weeks after Markman       Deadline to serve Final Infringement and Invalidity
hearing                     Contentions. After this date, leave of Court is required for any
                            amendment to Infringement or Invalidity contentions. This
                            deadline does not relieve the Parties of their obligation to
                            seasonably amend if new information is identified after initial
                            contentions.
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12 weeks after Markman      Deadline to amend pleadings. A motion is not required unless
hearing                     the amendment adds patents or claims.

30 weeks after Markman      Close of Fact Discovery.
hearing

31 weeks after Markman      Opening Expert Reports.
hearing

35 weeks after Markman      Rebuttal Expert Reports.
hearing

38 weeks after Markman      Close of Expert Discovery.
hearing

39 weeks after Markman      Deadline to meet and confer to discuss narrowing the number
hearing                     of claims asserted and prior art references at issue. The parties
                            shall file a Joint Report within 5 business days regarding the
                            results of the meet and confer.

40 weeks after Markman      Dispositive motion deadline and Daubert motion deadline.
hearing

42 weeks after Markman      Serve Pretrial Disclosures (jury instructions, exhibits lists,
hearing                     witness lists, discovery and deposition designations).

44 weeks after Markman      Serve objections to pretrial disclosures/rebuttal disclosures.
hearing

45 weeks after Markman      Serve objections to rebuttal disclosures and File Motions in
hearing                     limine.

46 weeks after Markman      File Joint Pretrial Order and Pretrial Submissions (jury
hearing                     instructions, exhibits lists, witness lists, discovery and
                            deposition designations); file oppositions to motions in limine

47 weeks after Markman      Deadline to meet and confer regarding remaining objections
hearing                     and disputes on motions in limine.

3 business days before      File joint notice identifying remaining objections to pretrial
Final Pretrial Conference   disclosures and disputes on motions in limine.
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 49 weeks after Markman       Final Pretrial Conference. The Court expects to set this date
 hearing (or as soon as       at the conclusion of the Markman Hearing.
 practicable)

 52 weeks after Markman       Jury Selection/Trial. The Court expects to set this date at the
 hearing (or as soon as       conclusion of the Markman Hearing.
 practicable)5



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5If the actual trial date materially differs from the Court's default schedule, the Court will
consider reasonable amendments to the case schedule post-Markman that are consistent with the
Court's default deadlines in light of the actual trial date.
